Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-2
                                305-1 Filed
                                      Filed 06/12/17
                                            04/28/17 Page
                                                     Page 1
                                                          1 of
                                                            of 6
                                                               6




                 EXHIBIT 1
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-2
                                     305-1 Filed
                                           Filed 06/12/17
                                                 04/28/17 Page
                                                          Page 2
                                                               2 of
                                                                 of 6
                                                                    6


 1   QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Cal. Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David Perlson (Cal. Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa J. Baily (Cal. Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     John Neukom (Cal. Bar No. 275887)
 5   johnneukom@quinnemanuel.com
     Jordan R. Jaffe (Cal. Bar No. 254886)
 6   jordanjaffe@quinnemanuel.com
     50 California Street, 22nd Floor
 7   San Francisco, California 94111-4788
     (415) 875-6600
 8   (415) 875-6700 facsimile

 9   Attorneys for Plaintiff WAYMO LLC
10
                                 UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     WAYMO LLC                                       Case No. 17-cv-00939-WHA
14
                  Plaintiffs,                        AMENDED DOCUMENT REQUESTS TO
15                                                   HELP DETERMINE RESPONSIVENESS
           v.                                        IN CONDUCTING SEARCH FOR
16                                                   MISAPPROPRIATED DOCUMENTS
     UBER TECHNOLOGIES, INC.;
17   OTTOMOTTO, LLC; OTTO TRUCKING                   Honorable William H. Alsup
     LLC,
18
                  Defendants.
19

20

21

22

23

24

25

26
27

28

30
                                                                              No. 3:17-cv-00939-WHA
31      WAYMO’S AMENDED DOCUMENT REQUESTS TO HELP DEFENDANTS’ SEARCH FOR MISAPPROPRIATED DOCUMENTS

32
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-2
                                     305-1 Filed
                                           Filed 06/12/17
                                                 04/28/17 Page
                                                          Page 3
                                                               3 of
                                                                 of 6
                                                                    6


 1             Pursuant to the parties’ agreement at the April 13, 2017 conference with Special Master
 2   Cooper, Plaintiff Waymo LLC hereby provides a set of twenty-five document requests for
 3
     Defendants to use to help determine responsiveness when reviewing hits to search terms and
 4
     otherwise reviewing documents in response to paragraph 4 of the Court’s March 16, 2017 order
 5
     (Dkt. 61) and related follow-on orders.
 6

 7                                              DEFINITIONS

 8             “Waymo” means Waymo’s self-driving car project, from its inception at Google Inc. in

 9   2009 through the present.
10             “Defendants” means Uber Technologies, Inc. (“Uber”), Ottomotto LLC and Otto
11
     Trucking LLC (together, “Otto”), 280 Systems, Inc. (“280 Systems”), Tyto LiDAR, LLC (“Tyto
12
     LiDAR”), and Odin Wave.
13
               “PCB” means printed circuit board.
14

15             “LiDAR system” means a light detection and ranging device, system, or prototype, and/or

16   designs, drawings, or concepts for such a device, system, or prototype.

17                                               REQUESTS
18
     REQUEST FOR PRODUCTION NO. 1:
19
               Documents reflecting a curved PCB.
20
     REQUEST FOR PRODUCTION NO. 2:
21
               Documents reflecting multiple laser diodes arranged on a curved PCB.
22

23   REQUEST FOR PRODUCTION NO. 3:

24             Documents reflecting a transmit PCB containing laser diodes spaced at varying intervals.
25   REQUEST FOR PRODUCTION NO. 4:
26
               Documents reflecting a transmit PCB containing laser diodes whose angular orientation
27
     varies.
28

30                                                                             No. 3:17-cv-00939-WHA
         WAYMO’S AMENDED DOCUMENT REQUESTS TO HELP DEFENDANTS’ SEARCH FOR MISAPPROPRIATED DOCUMENTS
31

32
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-2
                                     305-1 Filed
                                           Filed 06/12/17
                                                 04/28/17 Page
                                                          Page 4
                                                               4 of
                                                                 of 6
                                                                    6


 1   REQUEST FOR PRODUCTION NO. 5:
 2          Documents reflecting a LiDAR system comprising a single optical cavity.
 3
     REQUEST FOR PRODUCTION NO. 6:
 4
            Documents reflecting an optical cavity for a LiDAR system comprising a single
 5
     transmit/receive lens.
 6

 7   REQUEST FOR PRODUCTION NO. 7:

 8          Documents reflecting a LiDAR system comprising more than four transmit PCBs.

 9   REQUEST FOR PRODUCTION NO. 8:
10          Documents reflecting a flexible receive PCB.
11
     REQUEST FOR PRODUCTION NO. 9:
12
            Documents reflecting a receive PCB containing 64 photodetectors.
13
     REQUEST FOR PRODUCTION NO. 10:
14

15          Documents reflecting transmit PCB containing multiple laser diodes spaced by under 3

16   millimeters.

17   REQUEST FOR PRODUCTION NO. 11:
18
            Documents reflecting a cylindrical lens that both pre-collimates a laser diode’s output
19
     beam and alters the angle of the beam.
20
     REQUEST FOR PRODUCTION NO. 12:
21
            Documents reflecting the purpose of precisely drilled holes on a transmit PCB.
22

23   REQUEST FOR PRODUCTION NO. 13:

24          Documents reflecting a receive PCB containing a circuit for driving avalanche
25   photodiodes by using a transistor.
26
27

28

30                                                                             No. 3:17-cv-00939-WHA
         WAYMO’S AMENDED DOCUMENT REQUESTS TO HELP DEFENDANTS’ SEARCH FOR MISAPPROPRIATED DOCUMENTS
31

32
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-2
                                     305-1 Filed
                                           Filed 06/12/17
                                                 04/28/17 Page
                                                          Page 5
                                                               5 of
                                                                 of 6
                                                                    6


 1   REQUEST FOR PRODUCTION NO. 14:
 2             Documents reflecting a LiDAR system that uses a single-beam laser with fiber
 3
     amplification.
 4
     REQUEST FOR PRODUCTION NO. 15:
 5
               Documents reflecting motor coils designed to be fabricated directly on a PCB.
 6

 7   REQUEST FOR PRODUCTION NO. 16:

 8             Documents reflecting a LiDAR system containing two modules, with one module

 9   consisting of a single-beam laser and fiber amplifiers, and another module consisting of the optics
10   for transmitting and receiving the beam from and to the environment.
11
     REQUEST FOR PRODUCTION NO. 17:
12
               Documents reflecting the rates at which the laser diodes are fired in a 64 beam LiDAR
13
     system.
14

15   REQUEST FOR PRODUCTION NO. 18:

16             Documents reflecting the amounts of power per shot used for laser diodes in a 64 beam

17   LiDAR system.
18
     REQUEST FOR PRODUCTION NO. 19:
19
               Documents reflecting a LiDAR system achieving a constant vertical resolution at short
20
     ranges.
21

22   REQUEST FOR PRODUCTION NO. 20:

23             Documents reflecting a transmit PCB containing 10 or 11 laser diodes.

24   REQUEST FOR PRODUCTION NO. 21:
25             Documents reflecting a LiDAR system containing a toroidal lens.
26
     REQUEST FOR PRODUCTION NO. 22:
27
               Documents reflecting the vertical field of view of a 64 beam LiDAR system.
28

30                                                                             No. 3:17-cv-00939-WHA
         WAYMO’S AMENDED DOCUMENT REQUESTS TO HELP DEFENDANTS’ SEARCH FOR MISAPPROPRIATED DOCUMENTS
31

32
     Case
     Case 3:17-cv-00939-WHA
          3:17-cv-00939-WHA Document
                            Document 589-2
                                     305-1 Filed
                                           Filed 06/12/17
                                                 04/28/17 Page
                                                          Page 6
                                                               6 of
                                                                 of 6
                                                                    6


 1

 2   DATED: April 14, 2017                   QUINN EMANUEL URQUHART & SULLIVAN,
 3                                           LLP

 4                                            By /s/ Charles K. Verhoeven
                                                 Charles K. Verhoeven
 5                                               Attorneys for WAYMO LLC
 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

30                                                                            No. 3:17-cv-00939-WHA
        WAYMO’S AMENDED DOCUMENT REQUESTS TO HELP DEFENDANTS’ SEARCH FOR MISAPPROPRIATED DOCUMENTS
31

32
